Case 3:16-cV-02649-S Document 127 Filed 03/28/19 Page 1 of 24 Page|D 2263

United States District Court

NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

SYNERGY STRATEGIC SOLUTIONS, LLC,
Plaintit`t`,

v. CASE NO. 3:16-CV-2649-S
ToTUs soLUTIoNs, INC., BRIAN WALD,
JAN GAULDING, TOM SHAW, and ERlC
STUMBERG,

Defendants.

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MEMORANDUM OPINION AND ORDER

This Order addresses Defendant Brian Wald’s Motion to Dismiss [ECF No. 98], Defendant
Eric Sturnberg’s Motion to Disrniss {ECF No. 100], Defendant J an Gaulding’s Motion to Disrniss
[ECF No. 101], and Defendant Tom Shaw’s Motion to Dismiss [ECF No. 105]. For the reasons
that foilow, the Court grants in part and denies in part Wald’s, Stumberg’s, and Shaw’s motions,
and grants Gaulding’s motion in its entirety.

I. BACKGROUND ()F THE CASE

Per Speciai Order 3-318, this case Was transferred from the docket of Judge Sidney A.
FitzWater to the docket of this Court on March 8, 2018.

On or about April 18, 2014, Plaintiff Synergy Strategic Solutions (“Plaintift"’) and
Defendant Totus Solutions, lnc. (“Totus”) entered into a Reselier/System Integrator Agreernent
governing Totus’s provision of various products to Plaintiff for resale to third parties (the
“Agreernent”). Fifth Arn. Compi. 1{ 10. Under the terms of the Agreement, Plaintiff could be
required to prepay Totus for products in the absence of an established and current line of credit

With Totus, or upon Totus requiring prepayment after notice. Id.

 

Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 2 of 24 Page|D 2264

On or about Decernber 7, 2015, Totus received Plaintiff’ s purchase order for a Hubbell
Lighting Package With various products to be delivered as needed (the “Purchase Order”). Id. 11
11. On or about December 31, 2015, Totus received Plaintift’s prepayment in the amount of
$319,508.98, representing 50 percent of the total amount of the Purchase Order (the
“Prepayment”). ]d. il 12. Plaintiff alleges that the Prepayment Was made pursuant to Totus’s
representations that its third~paity supplier required this depositl Id.

According to Plaintiff, between December 2015 and l\/[arch 2016, Totus communicated
regularly With Plaintiff regarding the specifics of the Purchase Order. ]d. 11 13. However, Plaintiff
alleges that communication subsequently decreased, and on or about July 14, 2016, Kathy Clinton,
Totus’s accounting manager, sent an email to Plaintit`f stating that Totus had sold all of its assets
and used the proceeds, including the Prepayment, to partially repay Totus’s secured lender. Id.
Plaintiff alleges that Clinton further stated that Totus had dissoived and Would neither be satisfying
its contractual obligations under the Agreement, nor returning the unearned portions of the
Prepayment. Id.

On August 23, 2016, Plaintiff, by and through its counsel, sent a letter to Totus demanding
that Totus remit the sum of $301,263.90, representing the unearned portions of the Prepayment
that Plaintii`f claims belong in equity and good conscience to Plaintiff (the “Monies”). Id. 11 l4.
On or about Septernber 6, 2016, Totus, by and through its counsel, responded to the demand letter,
stating that Totus had been dissolved and had no assets to satisfy a judgment Id. il 15.

Plaintiff alleges upon information and belief, based on Totus’s communications to Plaintiff,
that Totus improperly used the Monies to partially repay its secured creditor Id. ‘il i6. According

to Piaintit`f, Totus’s ledger revealed that the secured creditor Was Defendant Stumberg, and that

 

Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 3 of 24 Page|D 2265

Totus used a large portion of the Monies to make lump-sum payments to Stumberg between
lanuary 4, 2016, and January 29, 2016. Ia’.

On l\/larch 26, 2018, Plaintiff filed its Fifth Amended Cornplaint asserting claims for
rescission of contract, breach of fiduciary duty, money had and received, fraud, negligent
misrepresentation, civil conspiracy, conversion, unjust enrichment, quantum meruit, and breach of
contract. Plaintiff alleges claims against Totus and Stumberg, and also seeks to impose vicarious
liability by piercing the corporate veil as to certain individual employees of Totus, including
Defendants Wald, President, CEO, and Director; Gaulding, Assistant Secretary and CFO; and
Shaw, Vice President and President of Sales (collectively With Stumberg, the “Individual
Defendants”).

II. LEGAL STANDARD
A. The Rule 12(b)(6) Standard

To defeat a motion to dismiss filed pursuant to Federal Rule of Civil Procedure l2(b)(6), a
plaintiff must plead “enough facts to state a claim to relief that is plausible on its face.” Bell Atl.
Corp. v. Twombly, 550 U.S. 544, 570 (2007); Reliable Consultants, Inc. v. Earle, 517 F.3d 73 8,
742 (5th Cir. 2008). To meet this “facial plausibility” standard, a plaintiff must “plead[] factual
content that allows the court to draw the reasonable inference that the defendant is liable for the
misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Plausibility does not require
probability, but a plaintiff must establish “rnore than a sheer possibility that a defendant has acted
unlawfully.” ]d. The court must accept well-pleaded facts as true and view them in the light most
favorable to the plaintiff Sonnier v. Stare Farm Mutual Auro Ins. Co. , 509 F.Bd 673, 675 (5th Cir.
2007). However, the court does not accept as true “conclusory allegations, unwarranted factual
inferences, or legal conclusions.” Ferrer v. Chevron Corp., 484 F.3d 776, 780 (5th Cir. 2007). A

3

 

 

Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 4 of 24 Page|D 2266

plaintiff must provide “more than labels and conclusions, and a formulaic recitation of the elements
of a cause of action Will not do.” Twombly, 550 U.S. at 555 (internal citations omitted). “Factual
allegations must be enough to raise a right to relief above the speculative level . . . on the
assumption that all the allegations in the complaint are true (even if doubtful in fact).” Id. (internal
citations omitted).

ln ruling on a Rule 12(b)(6) motion, the court limits its review to the face of the pleadingsl
See sz'vey v. Robertson, 197 F.3d 772, 774 (5th Cir. 1999). The pleadings include the complaint
and any documents attached to it. Collins v. Morgan Stanley Dean Wz`tter, 224 F.3d 496, 498-99
(5th Cir. 2000). However, the court may also consider documents outside of the pleadings if they
fall within certain limited categories First, the “court is permitted . . . to rely on ‘documents
incorporated into the complaint by reference, and matters of which a court may take judicial
notice.”’ Dorsey vi Portfolio Equiries, Inc., 540 F.3d 333, 338 (5th Cir. 2008) (quoting Te[labs,
Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007)). Second, the “court may consider
documents attached to a motion to dismiss that ‘are referred to in the plaintiffs complaint and are
central to the plaintiffs claim.”’ Sullz'van v. Leor Energy, LLC, 600 F.3d 542, 546 (5th Cir. 2010)
(quoting Sccmfan v. Tex. A & M Univ., 343 F.Bd 533, 536 (5th Cir. 2003)). Third, “[i]n deciding
a l2(b)(6) motion to dismiss, a court may permissibly refer to matters of public record.” Cinel v.
Connick, 15 F.3d 1338, 1343 n.6 (5th Cir. 1994) (internal citations omitted); see also, e.g., Funk
v. Stryker Corp., 631 F.3d 777, 783 (5th Cir. 2011) (stating, in upholding district court’s dismissal
pursuant to Rule 12(b)(6), that “the district court took appropriate judicial notice of publicly-
available documents and transcripts produced by the [Food and Drug Administration], which Were

matters of public record directly relevant to the issue at hand.” (internal citations omitted)).

 

 

Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 5 of 24 Page|D 2267

The ultimate question is whether the complaint states a valid claim when viewed in the
light most favorable to the plaintiffl Grear Plaz'ns Trusr Co. v. Morgan Sranley Dean Witter & Co. ,
313 F.3d 305, 312 (5th Cir. 2002). At the motion to dismiss stage, the court does not evaluate the
plaintiffs likelihood of success lt only determines whether the plaintiff has stated a claim upon
which relief can be granted Mann v. Adams Realty Co., 556 F.2d 288, 293 (5th Cir. 1977).

B. The Rule 9(b) Standam'

Rule 9(b) requires that “[i]in alleging fraud or mistake, a party must state with particularity
the circumstances constituting fraud or mistake Fed. R. Civ. P. 9(b). “At a minimum, Rule 9(b)
requires allegations of the particulars of time, place, and contents of the false representations as
well as the identity of the person making the misrepresentation and what he obtained thereby.”
Benchmark Elecs., Inc. v. J.M. Huber Corp., 343 F.3d 719, 724 (5th Cir. 2003) (quoting Tel-
Phonic Servs., Inc_ v. TBS]nt’l, Inc., 975 F.2d 1134, 1139 (5th Cir. 1992). Put simply, 9(b) requires
the “who, what, When, where, and how” of the fraud. Um'ted States ex rel. Willfams v. Bell
Helicopter Textron Inc. , 417 F.3d 450, 453 (5th Cir. 2005) (quoting Um`ted States ex rel. Thompson
v. Columbia/HCA Healthcare Corp., 125 F.3d 899, 903 (5th Cir. 1997)).

III. ANALYSIS

Plaintiff asserts the following causes of action in the Fifth Amended Complaint: (1)
rescission of contract against Totus; (2) breach of fiduciary duty against Totus and the Individual
Defendants; (3) money had and received against Stuml)erg; (4) fraud against Totus and the
lndividual Defendants; (5) negligent misrepresentation against Totus, Wald, and Shaw; (6) civil
conspiracy against Totus and Stumberg; (7) conversion against Totus; (8) unjust enrichment
against Stumberg; (9) quantum meruit against Totus, Wald, Gaulding, and Shaw; and (l) breach

of contract against Totus

 

 

Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 6 of 24 Page|D 2268

In their respective Motions to Dismiss, the Individual Defendants each move to dismiss
Plaintiff s claims asserted against them pursuant to Rule l2(b)(6) for failure to state a claim. Totus
has failed to appear in this action. On May 30, 2018, the Clerk of the Court entered default against
Totus [ECF No. l2l]. Thel'efore, the Court Wili only address the causes of action asserted against
Totus to the extent that they underpin Plaintiff s causes of action against the individual Defendants.

A. Count II: Breach of Fiduciary Duty (Totus, Stumberg, Wald, Gaulding, and Shaw)

In Count lI, Plaintiff asserts a claim for breach of fiduciary duty against Totus and the
Individual Defendants. Plaintiff alleges that Totus held the Monies in constructive trust until
earned, and therefore, owed Plaintiff a fiduciary duty of good faith and fair dealing. Fifth Am.
Compl. 1111 26-29. Plaintiff alleges that Totus breached this fiduciary duty by misappropriating the
Monies and using them for Totus’s sole benefit before Totus had earned the Monies through
performance ld. 11 30. Additionally, Plaintiff alleges that the lndividual Defendants knowingly
participated in the breach of Totus’s fiduciary duty breach to Plaintiff, and therefore are each
individually liable as joint tortfeasors Ia’. 11 31.

The elements of a breach of fiduciary duty claim are: “(1) the existence of a fiduciary duty,
(2) breach of the duty, (3) causation, and (4) damages.” Fz‘rsr Um'ted Pentecostal Church of
Beaumonr v. Parker, 514 S.W.3d 214, 220 (Tex. 2017). A fiduciary relationship arises “Where the
parties are ‘under a duty to act for or give advice for the benefit of another upon matters within the
scope of their relation.”’ ARA Auto. Grp. v. Cenf. Garage, Inc., 124 F.3d 720, 723 (5th Cir. 1997)
(Tex. chk & Tr. Co. v. Moore, 595 S.W.2d 502, 507 (Tex. 1980)). In Texas, a fiduciary
relationship does not arise from a business transaction alone; rather, the relationship must exist
prior to, and apart from, the business agreement Willis v. Donnelly, 199 S.W.3d 262, 277 (Tex.
2006) (citing Schlumberger Tech. Corp. v. Swanson, 959 S.W.2d 171, 177 (Tex. 1997)).

6

 

Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 7 of 24 Page|D 2269

Subjective trust alone “does not, as a matter of law, transform arm’s-length dealing into a fiduciary
relationship.” Schlumberger, 959 S.W.2d at 177. Parties to an arm’s-length business agreement
do not owe each other a fiduciary duty without evidence of a “close personal relationship of trust
and confidence.” Wz'llis, 199 S.W.3d at 277.

Plaintiff does not allege the existence of a prior fiduciary relationship with Totus or a close
and personal relationship of trust and confidence between the parties Moreover, the terms of the
Agreement between Totus and Plaintiff disclaim the creation of any joint venture or partnership
between the parties Pl.’s Ex. l, ij 15.2 [ECF No. 91-1}. The Agreement states, “Customer
acknowledges that any use of the term ‘partner’ in any marketing programs materials and
administration does not constitute or imply a partnership or any other fiduciary relationship.” Id.

lnstead, Plaintiff alleges that Totus owed Plaintiff a fiduciary duty of good faith and fair
dealing as a result of the Monies held in constructive trust by Totus Fifth Am. Compl. 111[ 27-29.
However, a constructive trust is an equitable remedy created by courts to prevent unjust
enrichment Monm'g ’s Dep ’l‘ Stores, Inc. v. Azad Oriem`al Rugs, Inc. (In re Monm'g ’.s' Dep ’t Stores,
Inc,), 929 F.2d 197, 201 (5th Cir. 1991) (citing Hudspeth v. Sroker, 644 S.W.2d 92, 94 (Tex.
App.-San Antonio 1982, writ ref’d)). In order for courts to recognize a constructive trust, the
parties must already have a confidential or fiduciary relationship prior to and apart from the
transaction in question Id. (citing Harris v. Sentry Tz`tle Co., Irzc., 715 F.2d 941 (5th Cir. 1983),
modified on other grounds 727 F.2d 1368 (5th Cir. 1984)); UTSA Apartmenrs, LLC v. UTSA
Apartments 8, LLC (In re UTSA Apartments 8, LLC), 886 F.3d 473, 488 (5th Cir. 2018). A
constructive trust does not give rise to a fiduciary duty; rather, a fiduciary duty must exist prior to
courts recognizing a constructive trust. Plaintiff does not allege that a fiduciary duty triggered the

constructive trust; contrary to law, Plaintiff claims the inverse.

7

Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 8 of 24 Page|D 2270

The Court finds that Plaintiff makes no factual allegations to support the existence of a
fiduciary duty between Totus and Plaintiff Plaintiff and Totus were engaged in an arm’s~length
business transactionl Plaintiff does not allege that a close and personal relationship of trust and
confidence existed prior to and separate from that business relationship Plaintiff s allegations that
Totus held the Monies in a constructive trust are insufficient as a matter of law to create a fiduciary
relationship between the parties Thus, the Court finds that Plaintiff has failed to sufficiently allege
the first element of its claim-the existence of a fiduciary duty.

Because Plaintiff has failed to establish more than a sheer possibility that Totus owed
Plaintiff a fiduciary duty, the Individual Defendants cannot be held liable for knowingly
participating in a breach of such a duty, See Meadows v. Harrford Life Ins. Co. , 492 F.3d 634, 639
(5th Cir. 2007) (“To establish a claim for knowing participation in a breach of fiduciary duty, a
plaintiff must assert: (l) the existence of a fiduciary relationship; (2) that the third party knew of
the fiduciary relationship; and (3) that the third party was aware that it was participating in the
breach of that fiduciary relationship.”). Therefore, the Court grants the lndividual Defendants’
l\flotions to Dismiss on this ground, and dismisses Plaintiffs claim for breach of fiduciary duty in
its entiretyl

B. Count III.‘ Money Had and Received (Stumberg)

In Count llI, Plaintiff asserts a claim for money had and received against Stumberg.
Plaintiff alleges that Stumberg holds money that belongs in equity and good conscience to Plaintiff,
namely, the Monies. Fifth Am. Cornpl. '[[ 33. Plaintiff alleges that the Monies were improperly
paid directly to Stumberg by Totus Id.

“The question, in an action for money had and received, is to which party does the money,
in equity, justice, and law, belong.” Staats v. Miller, 243 S.W.Zd 686, 687~88 (Tex. 1951) (quoting

8

 

Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 9 of 24 Page|D 2271

58 C.J.S., Money Received, § 4a, p. 913). “All plaintiff need show is that defendant holds money
which in equity and good conscience belongs to him.” Ia’. “l\/loney had and received is an equitable
doctrine applied to prevent unjust enrichment.” Bank ofSaipan v. CNG an. Corp., 380 F.3d 836,
840 (5th Cir. 2004) (quoting Milfer~Rogaska, Inc, v. Bank One, Tex., N.A., 93l S.W.2d 655, 662
(Tex. App.-~Dallas 1996, no pet.)). An action for money had and received is not premised on
wrongdoing H.E.B., L.L.C. v. Ardirzger, 369 S.W.3d 496, 507 (Tex. App.-Fort Worth 2012, no
pet.). It Simply examines whether the defendant has money which rightfully belongs to another.
Id. (quoting Staats, 243 S.W.2d at 687).

Plaintiff alleges that Stumberg holds money that in equity and good conscience belongs to
Plaintiff Fifth Am. Compl. ‘[l 33. Plaintiff relies on Totus’s ledger in support of its allegations
that Totus used a large portion of the Monies to make lump-sum payments to Stumberg between
January 4, 2016, and January 29, 2()l6. See id. il 16 (citing Pl.’s Ex. l9 [ECF No. 91»19]).
According to Plaintiff, Totus’s ledger reveals that at least $200,000 of the Prepayment was
immediately paid to Stumberg. See id. Plaintiff alleges that it paid the Prepayment to Totus as a
result of fraudulent inducement, fraudulent misrepresentation and fraud by nondisclosure on the
part ofTotus. See id. jill 35~63. Accordingly, Plaintiff alleges that Stumberg received the payments
from Totus as a result of a fraudulent transaction See id. 1[1[ 64-65. Plaintiff further alleges that
Stumberg knew or should have known that the transactions were fraudulent because of his role as
Director and frequent involvement With Totus. Id. il 65.

Stumberg moves to dismiss, arguing that Plaintiff cannot assert a money had and received
claim because Plaintiff made the payment pursuant to a contract See Stumberg Mot. 9. Money
had and received is a claim based on quasi~contract. Villareal v. Firsf Prest'dio Bank, 744 F. App’x
204, 205 (5th Cir. 20l8) {per curiam). Money had and received “is precluded by Texas law:

9

 

 

Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 10 of 24 Page|D 2272

“[W]hen a valid, express contract covers the subject matter ofthe parties’ dispute, there can be no

51

recovery under a quasi-contract theory[.] Id. (quoting Forfune Prod. Co. v. Conoco, Inc., 52
S.W.3d 671, 684 (Tex. 2000)). Because Plaintiff made the Prepayrnent pursuant to the Purchase
Order and under the terms of the Agreement, Stumberg argues that Plaintiff is precluded from
asserting an equitable claim for relief. See Stumberg Mot. 9.

ln response, Plaintiff contends that Texas law does not preclude its money had and received
claim because there is no contract between Plaintiff and Stumberg Pl.’s Resp. il 17. Plaintiff
explains, “To be clear, the Agreernent in question-which [Plaintiff] seeks to rescind-was
between {Plaintiff] and Totus. There was no agreement or contract between {Plaintiff] and
Stumberg.” ld.

The case at hand presents an unusual fact pattern for a money had and received claim.
Plaintiff and Totus entered into the Agreement, and under the terms of the Agreement, Plaintiff
could be required to prepay Totus for products in the absence of an established and current line of
credit with Totus, or upon Totus requiring prepayment after notice. Fifth Am. Compl. ‘ll 10.
Plaintiff then made the Prepayrnent for 50 percent of the total amount of the Purchase Order. Id.
1[ l2. Plaintiff acknowledges that Totus then used its assets, including the Prepayment, to repay
Totus’s secured lenderwlater discovered by Totus to be Stumberg. Id. 1}1| 13, 16. Plaintiff now
asserts the money had and received claim against Stumberg, who is not a party to the business
dealings between Plaintiff and Totus.

Texas courts have allowed restitution for money had and received claims most commonly
in cases where a plaintiff directly pays a defendant in errormeither as a result of the plaintiff s
own mistake or fraud on the part of the defendant See, e.g. , Doss v. Homecomz'ngs Fin. Nel‘work,
Inc., 210 S.W.3d 706, 7l0-l1 ('i`ex. App._Corpus Christi 2006, pet denied) (payrnent applied to

10

 

 

Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 11 of 24 Page|D 2273

wrong account)', Lyman D. Robr'nson Family Lr‘a'. P’shl`p v. McWilliams & Thompson, P.L.L.C.,
143 S.W.3d 518, 520 (Tex. App.-Dallas 2004, pet denied) (money held in escrow released to
wrong client); Amoco Proa’. Co. v. Smith, 946 S.W.2d 162, 163-65 (Tex. App._El Paso 1997, no
Writ) (plaintiff made oil and gas royalty payment to wrong person); Benson v. vaelers Ins. Co.,
464 S.W.2d 709, 710-13 (Tex. App._Dallas 1971, no writ) (plaintiff made an overpayment);
Staats, 243 S.W.2d at 686-88 (clairn by a defrauded party against the party who committed the
fraud). in each of the above cited cases, a party made a payment in error directly to another party,
and then pursued a money had and received claim against that party, not against a subsequent third-
party like in the case at hand. Further complicating the Court’s analysis is the undisputed fact that
Plaintiff did make the Prepayment pursuant to the Purchase Order and under the terms of the
Agreement.

ln Bank of Saipan, the Fifth Circuit, applying Texas law, reversed the lower court’s
judgment as a matter of law dismissing plaintiff Bank of Saipan’s (“Bank”) money had and
received claim. 380 F.3d at 838. The Bank sued defendant CNG Financial Corp. (“CNG”) for
damages resulting from a complex fraud perpetrated by third parties against both entities Id. The
Bank loaned money to a third party to purchase the subsidiaries of CNG, and CNG received the
loan proceeds as partial payment for the subsidiaries Id. The Bank asserted a claim for money
had and received against CNG, arguing that it was entitled to the money it loaned the purchaser as
a result of the fraudulent scheme, Which was, at that time, proceeds in CNG’s possessionl Id.

In conducting its analysis, the Fifth Circuit, citing Texas authorities, noted,

While [the Texas authorities] do indicate that a money had and received claim can

result from a defendant’s duress, fraud, or undue influence, they do not hold that

the equitable claim can only arise in the context of reprehensible conduct by the
defendant Other, less insidious acts can serve as the basis for the claim.

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Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 12 of 24 Page|D 2274

F or example, property stolen from the plaintiff and transferred to a third~party and

received in good faith might still be recovered via an analogous equitable restitution

action.

Id. at 842 (internal citations omitted).

Accepting all well~pleaded facts as true and viewing them in the light most favorable to
Plaintiff, the Court finds that at the pleading stage, Plaintiff has sufficiently stated a claim for
money had and received against Stumberg Plaintiff did make the Prepayrnent pursuant to the
Purchase Order to Totus, but there is no contract between Plaintiff and Stumberg that would
preclude the claim. Moreover, Plaintiff alleges that the Prepayment was remitted as a result of
fraud by Totus and negligent misrepresentation by Totus’s corporate officers. Plaintiff contends
that Stumberg knew cr should have known that the money he received from Totus was the result
of a fraudulent transaction The Court finds that Plaintiff has pleaded sufficient facts to establish
more than a sheer possibility that Stumberg holds money which in equity and good conscience
belongs to Plaintiff. The Court, therefore, denies Stumberg’s Motion to Dismiss on this ground.

C. Coum‘ IV: Fraua' (Totus, Wald, Gaulding, Shaw, and Stumberg)

In Count IV, Plaintiff asserts a claim for fraud against all Defendants. Plaintiff alleges that
Totus is liable to Plaintiff for fraudulent inducement, fraudulent misrepresentation and fraud by
nondisclosure Fifth Am. Compi. ii 35. Plaintiff also alleges that Stumberg, as a beneficiary of
Totus’s fraud, is vicariously liable to Plaintiff for fraudulent inducement and fraudulent
misrepresentation Id. ‘[[ 64. Finally, Plaintiff contends that the corporate form should be
disregarded, and Wald, Gaulding, and Shaw should each be held vicariously liable to Plaintiff for

Totus’s fraud. Id. 11 68.

12

 

Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 13 of 24 Page|D 2275

1'. Framl against Stumberg

Plaintiff alleges that Stumberg, as a beneficiary of Totus’s alleged fraud, is also vicariously
liable for fraudulent inducement and fraudulent misrepresentation Id. il 64. According to
Plaintiff, Stumberg received a benefit from Totus, namely the payments made from Totus to
Stumberg in lanuary 2015. Id. Plaintiff alleges that the payments Stumberg received from Totus
resulted from fraudulent transactions funded almost exclusively with the Monies. Ia’. 1[ 65. Based
on information and belief, Plaintiff argues that Stumberg knew or should have known that the
transactions were fraudulentl Id. il 66. Plaintiff points to Stumberg’s alleged role as a director of
Totus and his “frequent and steady involvement with Totus” in support of its position that
Stumberg was aware of the fraudulent transactions Id.

The elements of fraud are:

(1) that a material representation was made; (2) the representation was false; (3)

when the representation was made, the speaker knew it was false or made it

recklessly without any knowledge of the truth and as a positive assertion; (4) the

speaker made the representation with the intent that the other party should act upon

it; (5) the party acted in reliance on the representation‘, and (6) the party thereby

suffered injury.
Imlt'an Cowboy Partners, er. v. Prudem‘iul Ins. Co. ofAm., 341 S.W.3d 323, 337 (Tex. 2011).
Moreover, when alleging fraud, a plaintiff must “state with particularity the circumstances
constituting fraud.” FED. R. CIV. P. 9(b). For a fraudulent inducement claim, in addition to the
elements of fraud, a binding contract must exist between the parties Haase v. Glazner, 62 S.W.3d
795, 798~99 (Tex. 2001). Fraudulent misrepresentation has the same elements as fraud. See
Snyder Commc ’ns, L.P. v. Maga%a, 142 S.W.3d 295, 298 (Tex. 2004).

Generally, shareholders and their affiliates are not liable for a corporation’s contractual

obligations See TEX. BUS. ORGS. CODE ANN. § 21.223(a)(2). However, Texas courts will

13

 

Case 3:16-cV-O2649-S Do'cument 127 Filed 03/28/19 Page 14 of 24 Page|D 2276

disregard the corporate form to impose vicarious liability if the plaintiff proves that the individual
defendant “caused the corporation to be used for the purpose of perpetrating a fraud on the plaintiff,
primarily for the personal benefit of the defendant.” Sid Rz'chardson Carbon & Gasolr`ne Co. v.
Interenergy Res., Ltd. , 99 F.3d 746, 752 (5th Cir. 1996) (citation omitted); see also TEX. BUS. ORG.
CODE ANN. § 21 .223('0). “Thus, if [Plaintiff] can show that [Stumberg] perpetrated an actual fraud
for his direct personal benefit, [Stumberg] is liable for ['fotus’s fraud] under Texas law.” Husky
ball Elecs., Inc. v. Rt'tz (In re Ritz), 832 F.3d 560, 566 (5th Cir. 2016).

Plaintiff offers no factual allegations concerning how Stumberg “caused the corporation to
be used for the purpose of perpetrating a fraud” that would warrant the Court to pierce the corporate
veil. St`d Richardson, 99 F.3d at 752. Plaintiff merely alleges that because Stumberg was listed as
a director of Totus and because of his alleged heavy involvement with Totus, he was aware of the
fraudulent transactions See Fifth Am. Compl. ‘[[ 66. Plaintiff does not allege that Stumberg made
a material misrepresentation or directed an officer of Totus to make a misrepresentation There
are no factual allegations regarding Stumberg’s alleged participation in causing the fraud against
Plaintiff-only that he was “aware” of the fraud’s occurrence Without more, the Court finds that
Plaintiff s allegations of fraud against Stumberg do not meet the heightened pleading standard of
Rule 9(b). Therefore, the Court grants Stumberg’s Motion to Dismiss on this ground, and
dismisses Plaintiff"s fraud claim against Stumberg.

ii. Fraua' against Wald and Shaw

Plaintiff contends that the corporate form should be disregarded, and Wald and Shaw

should be held vicariously liable for Totus’s alleged fraud, because their use of Totus’s corporate

form was a “sham to perpetrate actual fraud” against Plaintiff. Id. ‘[l‘tl 68-69.

14

 

Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 15 of 24 Page|D 2277

Plaintiff alleges that Wald and Shaw fraudulently induced Plaintiff into tendering the
Monies by making false representations that it would be used as prepayment for 50 percent of the
Purchase Order. Id. 1[ 70. According to Plaintiff, throughout November and December 2015, Wald
and Shaw stated verbally and by email that Totus’s third-party supplier required a 30 percent
deposit before it could move forward with a purchase order requestl Id. ‘|l 36. Plaintiff alleges that
on or about December 2l, 2015, Wald stated via email to Plaintiff that he and Shaw would be
working to initiate the Purchase Order, and asked when Plaintiff would be able to send the
Prepayment. ld. Later that same day, Plaintiff alleges that Shaw stated via email to Plaintiff that
Totus would now require a 50 percent deposit to move forward with the Purchase Order. Id.
Plaintiff argues that the statements made by both Wald and Shaw were false representations
because on or about April 21, 2016, Plaintiff discovered that Totus’s third-party supplier required
no such deposit Ia’. il 37.

Plaintiff contends that Wald and Shaw also committed fraud by nondisclosure Plaintiff
alleges that Wald failed to disclose that (l) the Monies had been disbursed to Stumberg; (2) Totus
had essentially been winding down the company prior to and shortly after receipt of the Monies;
and (3) Wald was using portions of the Monies to pay himself. Id. 1[1[ 75-76. Plaintiff alleges that
Shaw failed to disclose (l) the purpose for which the Monies would be used; and (2) that within
days of receipt, the majority of the Monies were disbursed to Stumberg. Id. il 90.

F or a fraud by nondisclosure claim, in addition to the elements of fraud, the plaintiff must

prove the defendant had a duty to disclose information and did not disclose l Lane ex rel. Lane v.

 

1 Plaintiff alleges that Wald, Shaw, and Gaulding each had a duty to disclose to Plaintiff because of their fiduciary
relationship with Plaintiff. However, the Court has determined that Plaintiff failed to establish the existence of a
fiduciary relationship between Plaintiff and Totus See supra § III.A. Therefore, to the extent that Plaintiff relies on
a fiduciary relationship between Plaintiff and Defendants to establish a duty to disclose, these allegations are dismissed
and will not be addressed by the Court.

15

 

 

Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 16 of 24 Page|D 2278

Hallfburton, 529 F.3d 548, 564 (5th Cir. 2008). A duty to disclose can arise in an arm’s-length
business transaction without a fiduciary or confidential relationship Berry v. Indt'anapolr's Life
]ns. C0., 600 F. Supp. 2d 805, 820 (N.D. Tex. 2009). A duty to disclose can arise when a party
makes a representation and later learns that representation is false or misleading Dorsey v.
Portfolio Eqairies, Inc., 540 F.3d 333, 341 (5th Cir. 2008).

Plaintiff alleges that both Wald and Shaw had a duty to disclose to Plaintiff because Wald
and Shaw knew that Plaintiff was relying on the Monies to be applied toward its Purchase Order,
that Plaintiff was ignorant of the true status of the Monies, and that Plaintiff had no equal
opportunity to discover the true status Fifth Am. Compl. ili{ 74, 90. Moreover, Plaintiff alleges
that Wald knew his statements were false when made, and Shaw knew that the representations
were false when made, or at a minimum, made the representations recklessly without knowledge
of their truth. See id. ‘llii 73, 89. Plaintiff contends that even if Shaw did not know that his
statements were false when made, he had a duty to correct their previous statements when he
learned that they were false or misleading Ia’. il 90.

Accepting all well-pleaded facts as true, and viewing them in the light most favorable to
the Plaintiff, the Court finds that Plaintiff pleads sufficient facts to state a plausible claim for relief
for fraud against Wald and Shaw. The Court finds that Plaintiff satisfies the heightened pleading
standards of Rule 9(b). Plaintiff has established more than a sheer possibility that Wald and Shaw
caused the corporation to be used for perpetuating the alleged fraud, and therefore, piercing the
corporate veil is warranted Therefore, the Court denies Wald’s and Shaw’s Motions to Dismiss

on this ground.

16

 

Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 17 of 24 Page|D 2279

iii. Fraua' against Gaulding

Plaintiff alleges that Gaulding’s use of Totus’s corporate form was a sham to perpetuate
actual fraud by nondisclosure against Plaintiff. Id. ‘|l 80. Plaintiff alleges that Gaulding failed to
disclose to Plaintiff that (l) the majority of the Monies were disbursed to Stumberg; and (2) she
was using portions of the Monies to pay herself Id. ‘|l 81. According to Plaintiff, Gaulding had a
duty to disclose that arose by operation of law because Gaulding knew that Plaintiff was relying
on Totus to hold the Monies until earned “because it was Gaulding’s primary, if not sole,
responsibility as CFO to know the status of the money in Totus’[s] bank accounts.” Id. il 80.

Plaintiff fails to plead with particularity that Gaulding is vicariously liable for the alleged
fraud by nondisclosure on the part of Totus Specifically, Plaintiff has not established that
Gaulding had a duty to disclose Unlike Wald and Shaw, Plaintiff does not allege that Gaulding
made an affirmative representation that she knew to be false and then failed to correct the
misstatement See Dorsey, 530 F.3d at 341. Rather, Plaintiff only alleges that Gaulding knew of
the alleged fraudulent use of the l\/lonies because of her role as CFO. Without more, Plaintiff`s
allegations are insufficient to plausibly establish that Gaulding had a duty to disclose Therefore,
the Court grants Gaulding’s Motion to Dismiss on this ground, and dismisses Plaintist fraud
claim against Gaulding

D. Coant V.‘ Negligent Misrepresentation (Totus, Wala', Shaw)

In Count V, Plaintiff asserts a claim for negligent misrepresentation against Totus, Wald,
and Shaw. The elements of a negligent misrepresentation claim are:

(l) the representation is made by a defendant in the course of his business, or in a

transaction in which he has a pecuniary interest; (2) the defendant supplies ‘false

information’ for the guidance of others in their business', (3) the defendant did not
exercise reasonable care or competence in obtaining or communicating the

17

 

 

Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 18 of 24 Page|D 228O

information; and (4) the plaintiff suffers pecuniary loss by justifiably relying on the
representation.”

Fed. Land Bank Ass’n v. Sloane, 825 S.W.2d 439, 442 (Tex. 1991). The heightened pleading
requirements of Rule 9(b) are applied to negligent misrepresentation claims when a plaintiff"s
fraud claim is based on the same set of alleged facts Benchmark Elecs., Inc_ v., 343 Fi3d at 723.

Plaintiff alleges that throughout November and December 2015, Shaw and Wald stated
verbally and by email that Totus’s third-party supplier required a 30 percent deposit before it could
move forward with a purchase order request Fifth Am. Compl. ll 96. According to Plaintiff, on
or about November 24, 2015, Shaw stated via email to Plaintiff that Totus’s third-party supplier
could not ship partial orders without a contract and deposit. Id. On or about December 2l, 20l5,
Shaw and Wald had a conference call with Plaintiff wherein they allegedly urged Plaintiff to remit
the deposit as soon as possible to avoid months of delay. Id. Later that day, Plaintiff alleges that
Shaw stated via email to Plaintiff that Totus would require a 50 percent deposit to move forward
with Plaintift"s Purchase Order. Id. Plaintiff claims that these representations led Plaintiff to
believe not only that the third-party supplier required the deposit, but also that the deposit would
specifically be applied toward fulfillment of Plaintiff’s Purchase Order. Id.

fn addition or in the alternative, Plaintiff alleges that Wald and Shaw made these
representations to Plaintiff in a transaction in which both Wald and Shaw had a pecuniary interest
]d. jill 97-98. Plaintiff alleges that Wald had a pecuniary interest in the Prepayment because Wald
received payments from Totus during February and March of 2016. ld. 111 76, 97. According to
Plaintiff, these payments to Wald were funded entirely with the Monies. Id. 1[ 76. Plaintiff also
alleges that Shaw had a pecuniary interest in the Prepayrnent because Shaw secured a position with

the third-party supplier as a result of Totus’s winding down Id. ii 98. Plaintiff argues that Shaw

18

 

 

Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 19 of 24 Page|D 2281

many not have secured a position with the third-party supplier had he not secured the money that
was apparently used by Totus to wind down the company. Id.

According to Plaintiff, the information provided Was for the guidance of Plaintiff in its
business transactions with Totus, and was false. Ia’. ‘H 99. Plaintiff alleges that Wald and Shaw
made these representations for the purpose of convincing Plaintiff to tender a large deposit. Id.
Plaintiff claims that it was not until several months after the deposit Was paid that Plaintiff learned
that the third-party supplier required no such deposit Id. Given their roles in the company and
Totus’s prior business with the third-party supplier, Plaintiff alleges that Wald and Shaw knew
that the information they were providing to Plaintiff was false, or at a minimum, did not exercise
reasonable care or competence in learning or communicating that no such deposit was required
Id. il 100.

At the pleading stage, the Court finds that Plaintiff has pleaded sufficient facts to state a
plausible claim for negligent misrepresentation against Wald and Shaw. The Court finds that
Plaintiff has met the heightened pleading standard required by Rule 9(h). Therefore, the Court
denies Wald’s and Shaw’s Motions to Dismiss on this ground.

E. Count VI: Civil Conspimcy (Totus and Stumberg)

ln Count VI, Plaintiff asserts a claim for civil conspiracy against Totus and Stumberg.
Plaintiff alleges that Totus and Stumberg conspired With the objective of Totus breaching its
fiduciary duty, committing fraud, and converting the l\/Ionies. Fifth Arn. Compl. il 103. Plaintiff
alleges that Totus and Stumberg had a meeting of the minds and committed unlawful acts by
disbursing portions of the Monies in furtherance of Totus’s breach of fiduciary duty, fraud, and

conversion Id. '|lil 104-05.

19

 

Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 20 of 24 Page|D 2282

The elements of a civil conspiracy claim are: “(l) a combination of two or more persons;
(2) an object to be accomplished (an unlawful purpose or a lawful purpose by unlawful means);
(3) a meeting of minds on the object or course of action; (4) one or more unlawful, overt acts; and
(5) damages as the proximate result.” Ins. Co. of N. Am. v. Morris, 981 S.W.Zd 667, 675 (Tex.
1998). To prevail on a civil conspiracy claim, there must be an underlying tort. Baly v. ProTech
Ins. Agency, 63 S.W.3d 841, 864 (Tex. App._Houston [l4th Dist.] 2001, pet. denied).

The Court finds that Plaintiff has failed to plead sufficient facts to allow the Court to draw
the reasonable inference that Totus and Stumberg are liable for civil conspiracy Plaintiff offers
only a formulaic recitation of the elements which does not satisfy the Rule lZ(b)(6) pleading
standard ln particular, the Fifth Amended Cornplaint is devoid of factual allegations concerning
Totus’s and Stumberg’s alleged meeting of the minds. Plaintiff offers no factual allegations of a
plan, an agreement, or alleged meetings to support the allegation that the Defendants conspired
together to accomplish an unlawful purpose. See Berry v. Bryan Cave LLP, Civ. A. No. 3:08-CV-
2035-13, 20l0 WL 1904885, at *6 (N.D. Tex. May ll, 2010). Plaintiff’s bare allegations are
insufficientl Therefore, the Court grants Stumberg’s Motion to Dismiss on this ground, and
dismisses Plaintiff’s civil conspiracy claim against both Totus and Stumberg

F. Count VIII.‘ Unjust Enrichmem (Stumberg)

In Count Vlll, Plaintiff asserts a claim for unjust enrichment against Stumberg. Plaintiff
alleges that Stumberg has been unjustly enriched, to Plaintiff’s detriment, by the unauthorized use
of and/or dominion over the Monies. Fifth Arn. Cornpl. il l l l. Plaintiff alleges that it is the rightful
owner of the Prepayrnent and equity and good conscience require Stumberg to return the

Prepayment to Plaintiff Id. il llZ.

20

 

Case 3:16-cV-O2649-S Document 127 Filed'03/28/19 Page 21 of 24 Page|D 2283

“‘Unjust enrichment is an equitable principle holding that one who receives benefits
unjustly should make restitution for those benefits,’ regardless of whether the defendant engaged
in wrongdoing.” Janvey it Algw`re, 846 F. Supp. 2d 662, 673 (N.D. Tex. 2011) (quoting Tex.
Integratea' Conveyor Sys., Inc. v. Innovative Conveyor Concepts, Inc., 300 S.W.3d 348, 367 (Tex.
App._Dallas 2009, pet. denied)). “Unjust enrichment occurs when the person sought to be
charged has wrongfully secured a benefit or has passively received one which it would be
unconscionable to retain.” Id. “A party may recover under the unjust enrichment theory when
one person has obtained a benefit from another by fraud, duress, or the taking of an undue
advantage.” Id. (quoting Heldenfels Bros. v. Cily of Corpus Chrz`sti, 832 S.W.Zd 39, 41 (Tex.
1992)).

“Texas courts have read claims for ‘unjust enrichment’ as pleading an equitable common
law claim for money had and received.” Id. at 674 (citing London v. London, 192 S.W.3d 6, 12-
14 (Tex. App.-Houston [l4th Dist] 2005, pet. denied)); see also Ha.ncock v. Chz'. Title fns. Co.,
635 F. Supp. 2d 53 9, 560 (N.D. 'l`ex. 2009) (holding that unjust enrichment is “a theory of liability
that a plaintiff can pursue through several equitable causes of action, including money had and
received, but not as a separate and distinct claim”). “Claims for money had and received and
unjust enrichment are materially and substantively identical,” Vz`llareal v. Fz`rsr Presidio Bank,
283 F. Supp. 3d 548, 553 n.5 (W.D. Tex. 2017); Janvey, 846 F. Supp. 2d at 674. `Plaintiff’s factual
allegations in support of its money had and received claim and unjust enrichment claim are
indistinguishable Therefore, the Court will address Plaintiff`s claims as one claim for money had
and received, and will dismiss Plaintiff’s unjust enrichment claim against Stumberg as repetitive
and superfluous See Metro. Lr`fe Ins. Co. v. Battle, Civ. A. No. 3:16-CV-2524-D, 20l8 WL
34389l3, at *2 (N.D.Tex.luly 17,2018).

21

 

Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 22 of 24 Page|D 2284

G. Count IX: Quanrum Meruit (Totus, Wald, Gaulding, Shaw)

In Count IX, Plaintiff asserts a claim for quantum meruit against Totus, Wald, Gaulding,
and Shaw. Plaintiff alleges that it provided Totus With the Prepayrnent specifically for Totus to
apply towards fulfillment of the Purchase Order. Fifth Am. Compl. 1[ ll3. Instead of holding the
Monies in trust for the Purchase Order, Plaintiff alleges that Totus accepted the Prepayment and
immediately began distributing large amounts to Stumberg and Totus. Ia’. ‘ll l 14. Plaintiff alleges
that Totus, Wald, Gaulding, and Shaw were fully aware of Plaintiff s expectation to be
compensated by fulfillment of the Purchase Order. Id. il 115. According to Plaintiff, because of
the various alleged acts of fraud committed by Totus, Wald, Gaulding, and Shaw, Plaintiff’ s claim
for relief under quantum meruit is separate and distinct from the Agreement and Purchase Order,
and Plaintiffs claim is not barred by the existence of these contracts. Id. ‘ll ll6.

“Quantum meruit is an equitable claim whereby one who provides services to another may
recover ‘based on an implied agreement to pay for benefits received.”’ Sullt`va.n, 600 F.3d at 550
(quoting Heldenfels Bros., 832 S.W.2d at 4l). “Quantum meruit ‘does not arise out of a contract,
but is independent of it.”’ Id. (quoting Vorrt Expl. Co. v. Chevron USA, Inc., 787 S.W.2d 942, 944
(Tex. 1990)). “Generally, a party may recover under quantum meruit only when there is no express
contract covering the services or materials furnished.” Vortt, 787 S.W.2d at 944 (citing Truly v.
Austin, 744 S.W.2d 934, 936 (Tex. 1988)). To state a claim under quantum meruit, a plaintiff must
allege that: (l) the plaintiff rendered valuable or materials; (2) the services or materials were
rendered to the defendant; (3) the defendant accepted, used, and enjoyed the services and materials;
(4) the circumstances reasonably notified the defendant that the plaintiff expected to be paid by

the defendant for the services or materials See id.

22

 

 

Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 23 of 24 Page|D 2285

The Court finds that Plaintiff fails to state a claim that Totus, Wald, Gaulding, and Shaw
are liable for quantum meruit In particular, Plaintiff fails to properly allege the first element of
the claim: that valuable services were rendered or materials furnished Plaintiff only alleges that
Totus accepted the Prepayrnent from Plaintiff-Plaintiff does not allege that it provided services
or provided materials See Fifth Am. Compl. il l 14. Money payments are not considered services
or materials for purposes of quantum meruit See Galderma Labs., L,P_ v. Aquent, Inc,, Civ. A.
No. 4:06-CV-822-Y, 2009 WL 498l l3, at *12 (N.D. Tex. Feb. 27, 2009) (“[T]he very nature ofa
quantum-meruit claim demonstrates it is not meant for the recovery of a payment of money.”).

Moreover, Plaintiff made the Prepayment under the terms of the Agreement and pursuant
to the Purchase Order. A claim for quantum meruit is independent of a contract Vortt, 787 S.W.2d
at 944; see also Prorocol Techs., Inc. v. J.B. Grana’ Canyon Dairy, L.P., 406 S.W.3d 609, 614
(Tex. App.--Eastland 2013, no pet.) (“The existence of an express contract is an affirmative
defense to an equitable claim of quantum meruit[.]”). Plaintiff offers no viable support for its
argument that its claim for relief under quantum meruit is separate and distinct from the Agreernent
and Purchase Order because of the various acts of alleged fraud by the Defendants.

The Court finds that Plaintiff has failed to state a plausible claim for relief for quantum
meruit in the Fifth Amended Complaint. Therefore, the Court grants Wald’s, Gaulding’s, and
Shaw’s Motions to Dismiss on this gro'und, and dismisses Plaintiff’s quantum meruit claim in its
entirety.

IV. CONCLUSION

For the reasons stated above, the Court grants in part and denies in part Wald’s, Stumberg’s,
and Shaw’s Motions to Dismiss, and grants Gaulding’s Motion to Dismiss. Plaintiff is on its sixth
complaint See ECF Nos. l, 5, 9, 21, 31, 91. Accordingly, the Court finds that further amendment

23

 

Case 3:16-cV-O2649-S Document 127 Filed 03/28/19 Page 24 of 24 Page|D 2286

would be futile and, therefore, will not allow Plaintiff the opportunity to amend for the sixth time.
See Great' Plains Tr. Co, 313 F.3d at 329.

For clarity, the Court will summarize the current procedural posture of Plaintiff s claims
after the Court’s ruling. Count i, Plaintiff’s claim for rescission of contract against Totus, was not
addressed by Defendants’ motions and moves forward. Count II, Plaintiff s claim for breach of
fiduciary duty, is dismissed in its entirety. Count IIi, Plaintiff’s claim for money had and received
against Stumberg, survives Stumberg’s Motion to Dismiss Count VI, Plaintiff’s claim for fraud,
is dismissed as to Stumberg and Gaulding, and survives as against Totus, Shaw, and Wald, Count
V, Plaintiff’s claim for negligent misrepresentation against Totus, Wald, and Shaw, remains
Count Vl, Plaintiff"s claim for civil conspiracy against Totus and Stumberg, is dismissed in its
entirety. Count VII, Plaintiff’s claim for conversion against Totus, was not addressed by
Defendants’ motions and will proceed. Count Vlll, Plaintiff s claim for unjust enrichment against
Stumberg, is dismissed Count IX, Plaintiff’s claim for quantum meruit against Totus, Shaw,

Wald, and Gaulding, is dismissed in its entirety.

SO ORDERED.

SIGNED March 28, 20l9.

 

 

KAREN GREN sCHoLER
UNITED sTArEs DISTRICT JUDGE

24

